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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE
                                    Bangor Division

    JANE DOES 1–6, JOHN DOES 1–3,                    )
    JACK DOES 1–1000, JOAN DOES 1–1000,              )
                                                     )
                          Plaintiffs,                )
    v.                                               ) Case No. 1:21-cv-00242-JDL
                                                     )
    JANET T. MILLS, in her official capacity as      )
    Governor of the State of Maine,                  )
    JEANNE M. LAMBREW, in her official capacity )
    as Commissioner of the Maine Department of       )
    Health and Human Services,                       )
    NIRAV D. SHAH, in his official capacity as       )
    Director of the Maine Center for Disease Control )
    and Prevention,                                  )
    MAINEHEALTH,                                     )
    GENESIS HEALTHCARE OF MAINE, LLC,                )
    GENESIS HEALTHCARE, LLC,                         )
    NORTHERN LIGHT HEALTH FOUNDATION, )
    MAINEGENERAL HEALTH,                             )
                                                     )
                          Defendants.                )

                          PLAINTIFFS’ OMNIBUS REPLY1
              IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION




1
        Due to the overlapping issues in Defendants’ Oppositions (dkt. 49, Government
Defendants’ Opposition to Motion for Preliminary Injunction (“Government Opposition”); dkt 50,
MaineHealth, et al. Opposition to Motion for Preliminary Injunction, (“MaineHealth Opposition”);
dkt. 51, Northern Light Opposition to Motion for Preliminary Injunction, “NL Opposition”)),
Plaintiffs, in the interest of judicial economy, submit an omnibus Reply to all of them.
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                                         INTRODUCTION

        On September 14, 2021, the United States District Court for the Northern District of New

York granted a temporary restraining order (TRO) enjoining the Governor of New York and other

government defendants from enforcing a COVID-19 vaccine mandate on healthcare workers that

is virtually identical to Governor Mills’ COVID-19 Vaccine Mandate challenged by Plaintiffs

here. See Dr. A. v. Hochul, No. 1:21-cv-01009-DNH-ML (N.D.N.Y. Sept. 14, 2021). (A true and

correct copy of the Dr. A. TRO is attached hereto as EXHIBIT A and incorporated herein.) In Dr.

A., plaintiffs challenged New York’s COVID-19 vaccine mandate on healthcare workers “to the

extent it categorically requires health care employers to deny or revoke religious exemptions from

COVID-19 vaccination mandates.” (Ex. A at 2.) Specifically, the court issued a TRO enjoining

the officials from enforcing the COVID-19 vaccine mandate such that they are “barred from

enforcing any requirement that employers deny religious exemptions from COVID-19

vaccination or that they revoke any exemptions employers already granted before the

vaccine mandate issued.” (Ex. A at 3 (emphasis added).) Further, the court enjoined the New

York officials “from interfering in any way with the granting of religious exemptions from

COVID-19 vaccination going forward, or with the operation of exemptions already granted.” (Id.)

Finally, the court enjoined them from “taking any action, disciplinary or otherwise, against the

licensure, certification, residency, admitting privileges or other professional status or qualification

of any of the plaintiffs on account of their seeking or having obtained a religious exemption

from mandatory COVID-19 vaccination.” (Id. (emphasis added).) And, the claims brought by

plaintiffs in Dr. A are also virtually identical to the claims raised in Plaintiffs’ Verified Complaint.

(See No. 1:21-cv-01009-DNH-ML, dkts. 1, 5.)
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       Governor Mills’ COVID-19 Vaccine Mandate here is identical to New York’s in its

removal of religious accommodations, and its fate should be the same. Despite their contentions

to the contrary, precluding, revoking, or denying merited requests for religious exemption from

the Governor’s COVID-19 Vaccine Mandate is plainly unconstitutional, runs roughshod over the

Supremacy Clause’s demand that federal law be applied in the States, and imposes irreparable

First Amendment injury on Plaintiffs’ sincerely held religious beliefs. Government Defendants’

imposition of a mandatory vaccine requirement and their concomitant removal of religious

exemptions while maintaining similarly situated secular exemptions is unconstitutional and should

be enjoined. For, indeed, “[e]ven in times of crisis—perhaps especially in times of crisis—we

have a duty to hold governments to the Constitution.” South Bay United Pentecostal Church v.

Newsom, 141 S. Ct. 716, 718 (2021) (Gorsuch, J.) (bold emphasis added).

                                    LEGAL ARGUMENT

I.     MAINE’S INTENTIONAL REMOVAL OF RELIGIOUS EXEMPTIONS FROM
       ITS VACCINE MANDATE WHILE ALLOWING MEDICAL EXEMPTIONS
       VIOLATES THE FIRST AMENDMENT.

       A.     Maine’s Singling Out of Religious Employees Who Decline Vaccination for
              Especially Harsh Treatment Is Not Religiously Neutral.

       Maine2 contends that its mandate that all healthcare workers in the State become fully

vaccinated against COVID-19 by a date certain and its concomitant removal of religious

exemptions from the mandate are facially neutral because they do not mention religion. (Gov’t

Opp’n 11.) This is both factually and legally absurd. Importantly, Maine entirely misses the

relevant standard, namely, that “government regulations are not neutral and generally

applicable, and therefore trigger strict scrutiny under the Free Exercise Clause, whenever




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       Unless otherwise indicated, “Maine” refers collectively to the Government Defendants.
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they treat any comparable secular activity more favorably than religious exercise.” Tandon

v. Newsom, 141 S. Ct. 1294, 1296 (2021) (bold emphasis added). In fact, “the regulations cannot

be viewed as neutral because they single out [religion] for especially harsh treatment.” Roman

Catholic Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 66 (2020). “When a state so obviously

targets religion for differential treatment, our job becomes much clearer.” South Bay, 141 S.

Ct. at 717 (Gorsuch, J.) (emphasis added).

       Here, Maine has plainly singled out religious employees who decline vaccination for

especially harsh treatment (i.e., depriving them from earning a living anywhere in the State), while

favoring employees declining vaccination for secular, medical reasons. Under the Tandon, South

Bay, and Catholic Diocese triumvirate, Government Defendants’ discriminatory treatment of

unvaccinated religious employees violates the First Amendment. Maine’s only answer to Tandon’s

unequivocal condemnation of treating any secular activity more favorably than religious activity

is to declare that it “eliminat[ed] all nonmedical exemptions.” (Gov’t Opp’n 11.) Even a cursory

examination, however, reveals this contention to be an intentional half-truth.3 The whole truth is

that Maine removed only religious exemptions from the list. Under the prior version of Maine’s

immunization exemption requirements, Maine allowed for (a) medical exemptions, and (b)

exemptions for any employee who “states in writing an opposition to immunization because of a

sincerely held religious belief.” (V. Compl. ¶ 48.) On August 14, 2021, however, Maine removed

only the religious exemption from the rule—i.e., “all nonmedical exemptions” (Gov’t Opp’n

11). “The Government’s argument is too cute by half (or perhaps two-thirds).” United States v.

Parker, 30 F.3d 542, 552 (4th Cir. 1994).



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      “Half the Truth is often a great Lie.” Benjamin Franklin, Poor Richard improved: Being
an Almanack and Ephemeris . . . for the Year of our Lord 1758, https://founders.archives.gov/
documents/Franklin/01-07-02-0146 (last visited Sept. 17, 2021).
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       As the Supreme Court has made plain, “[t]he Free Exercise Clause protects against

governmental hostility which is masked, as well as overt.” Church of the Lukumi Babalu Aye, Inc.

v. City of Hialeah, 508 U.S. 520, 534 (1993). Cynically masking the direct targeting of religious

exemptions by calling it a general removal of all nonmedical exemptions is an impermissible

“covert suppression of particular religious beliefs.” Id. The First Amendment demands more.

       B.      The Vaccine Mandate’s More Favorable Treatment of Employees Declining
               Vaccination for Secular, Medical Reasons as Compared to Employees
               Declining Vaccination for Religious Reasons Is Not Generally Applicable.

       Maine’s continuing recognition of only medical exemptions also removes the Vaccine

Mandate from neutrality and general applicability. Maine contends that offering medical

exemptions from its Vaccine Mandate while excluding religious exemptions does not even

implicate the First Amendment. (Gov’t Opp’n 11–12.) A host of precedent demonstrates the

absurdity of that contention.

       In Fraternal Order of Police Newark Lodge No. 12 v. City of Newark, Justice (then-Judge)

Alito wrote unequivocally for the court that “[b]ecause the Department makes exemptions from

its [no beards] policy for secular reasons and has not offered any substantial justification for

refusing to provide similar treatment for officers who are required to wear beards for

religious reasons, we conclude that the Department's policy violates the First Amendment.”

170 F.3d 359, 360 (3d Cir. 1999) (emphasis added). There, like Maine here, the city argued that it

was required to provide medical accommodations under federal law but that religious exemptions

were not required. Id. at 365. The court squarely rejected that rationale: “It is true that the ADA

requires employers to make reasonable accommodations for individuals with disabilities.

However, Title VII of the Civil Rights Act of 1964 imposes an identical obligation on

employers with respect to accommodating religion.” Id. (emphasis added) (cleaned up). And



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there (as here, V. Compl. ¶¶ 117–121) the government “has clearly been put on notice of Title

VII’s religious accommodation requirements.” 170 F.3d at 365. Thus, the court held, “we cannot

accept the Department's position that its differential treatment of medical exemptions and

religious exemptions is premised on a good-faith belief that the former may be required by

law while the latter are not.” Id. (emphasis added).

       Here, Maine contends that the availability of medical exemptions, while religious

exemptions were specifically targeted and excluded, does not violate the First Amendment because

the two are not comparable. (Gov’t Opp’n 11–12.) Justice Alito squarely rejected that contention:

       We also reject the argument that, because the medical exemption is not an
       “individualized exemption,” the Smith /Lukumi rule does not apply. While the
       Supreme Court did speak in terms of “individualized exemptions” in Smith and
       Lukumi, it is clear from those decisions that the Court's concern was the
       prospect of the government's deciding that secular motivations are more
       important than religious motivations. If anything, this concern is only further
       implicated when the government does not merely create a mechanism for
       individualized exemptions, but instead, actually creates a categorical
       exemption for individuals with a secular objection but not for individuals with
       a religious objection.

Fraternal Order of Police, 170 F.3d at 365 (emphasis added) (cleaned up). The same is true here.

Maine maintained a policy that permitted religious exemptions and medical exemptions to

mandatory vaccinations. (V. Compl. ¶ 48.) Then, Maine specifically removed religious

exemptions while maintaining medical exemptions. (V. Compl. ¶¶ 46–47.) And, under Fraternal

Order of Police, that discriminatory removal of a religious exemption while maintaining a medical

exemption violates the First Amendment. 170 F.3d at 365 (“Therefore, we conclude that the

Department's decision to provide medical exemptions while refusing religious exemptions is

sufficiently suggestive of discriminatory intent so as to trigger heightened scrutiny

under Smith and Lukumi.” (emphasis added)).




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       Here, Maine claims secular, medical reasons for declining vaccination are important

enough to overcome its interest in ensuring high vaccination rates but that religious reasons for

declining vaccination are not. (Gov’t Opp’n 12.) The Third Circuit, however, concluded such a

value judgment does not legitimize a discriminatory policy:

       [T]he medical exemption raises concern because it indicates that the
       Department has made a value judgment that secular (i.e., medical) motivations
       for wearing a beard are important enough to overcome its general interest in
       uniformity but that religious motivations are not. As discussed above, when
       the government makes a value judgment in favor of secular motivations, but
       not religious motivations, the government's actions must survive heightened
       scrutiny.

170 F.3d at 366 (emphasis added). Essentially, as here, “[w]e thus conclude that the

Department's policy cannot survive any degree of heightened scrutiny and thus cannot be

sustained.” Id. at 367 (emphasis added).

       Justice Alito’s opinion for the court in Fraternal Order of Police hardly represents a novel

proposition. As the Sixth Circuit explained, “a double standard is not a neutral standard.” Ward

v. Polite, 667 F.3d 727, 740 (6th Cir. 2012) (emphasis added). And, as many courts have

recognized, allowing medical exemptions while prohibiting religious exemptions is

unconstitutional. See, e.g., Tenafly Eruv Ass’n, Inc. v. Borough of Tenafly, 309 F.3d 144, 165–66

(3d Cir. 2002) (“[I]n situations where government officials exercise discretion in applying a

facially neutral law, so that whether they enforce the law depends on their evaluation of the reasons

underlying a violator's conduct, they contravene the neutrality requirement if they exempt some

secularly motivated conduct but not comparable religiously motivated conduct.”); Litzman v. N.Y.

City Police Dep’t, No. 12 Civ. 4681(HB), 2013 WL 6049066, *3 (S.D.N.Y. Nov. 15, 2013)

(holding that a policy that permits medical exemptions but not religious exemptions is neither

neutral nor generally applicable and must be subject to strict scrutiny); Singh v. McHugh, 185 F.



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Supp. 3d 201, 225 (D.D.C. 2016) (“In sum, it is difficult to see how accommodating plaintiff's

religious exercise would do greater damage to the Army's compelling interests in uniformity,

discipline, credibility, unit cohesion, and training than the tens of thousands of medical shaving

profiles the Army has already granted.”); Cunningham v. City of Shreveport, 407 F. Supp. 3d 595,

607 (W.D. La. 2019) (allowing medical exemptions while precluding religious exemptions

removes law from neutrality and general applicability). Maine’s discriminatory retention of

medical exemptions while excluding religious exemptions must be subjected to, and cannot

withstand, strict scrutiny. Put simply, “restrictions inexplicably applied to one group and

exempted from another do little to further [the government’s] goals and do much to burden

religious freedom.” Maryville Baptist Church, Inc. v. Beshear, 957 F.3d 610, 615 (6th Cir. 2020)

(emphasis added).

       C.      Maine’s Discriminatory Treatment of Religious Exemptions Is Subject to and
               Cannot Withstand Strict Scrutiny.

               1.     Maine’s favorable treatment of exemptions posing equal risks, and
                      Maine’s questionable risk assumptions undermine its claim of a
                      compelling interest.

                      a.      Maine’s favorable treatment of medical exemptions posing risks
                              equal to excluded religious exemptions undermines its
                              compelling interest claim.

       Where, as here, First Amendment rights are at issue, “the government must shoulder a

correspondingly heavier burden and is entitled to considerably less deference in its

assessment that a predicted harm justifies a particular impingement on First Amendment

rights.” Janus v. Am. Fed’n of State, Cnty. & Mun. Emps., Council 31, 138 S. Ct. 2448, 2472

(2018) (emphasis added). Here, because Maine’s Vaccine Mandate and its exclusion of religious

exemptions implicate Plaintiffs’ First Amendment rights, Maine “must do more than simply posit

the existence of the disease sought to be cured. It must demonstrate that the recited harms are

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real, not merely conjectural.” Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622, 664 (1994); see

also Edenfield v. Fane, 507 U.S. 761, 770 (1993). This is so because “[d]eference to [the

government] cannot limit judicial inquiry when First Amendment rights are at stake.” Landmark

Commc’ns, Inc. v. Maine, 435 U.S. 829, 843 (1978).

       To be sure, efforts to contain the spread of a deadly disease are “compelling interests of

the highest order.” On Fire Christian Ctr., Inc. v. Fischer, 453 F. Supp. 3d 901, 910 (W.D. Ky.

2020). But Maine’s permitting unvaccinated employees with medical exemptions to continue in

their same healthcare positions while claiming unvaccinated employees with religious exemptions

would put the entire healthcare system at risk undermines any claim that Maine’s interest is

compelling. If any unvaccinated employees pose a risk to Maine’s healthcare system because

they are unvaccinated, then all unvaccinated employees pose the same risk. Put simply,

Maine’s Vaccine Mandate “cannot be regarded as protecting an interest of the highest order . . .

when it leaves appreciable damage to that supposedly vital interest unprohibited.”

Republican Party of Minn. v. White, 536 U.S. 765, 780 (2002) (emphasis added) (cleaned up).

Where, as here (V. Compl. ¶¶ 46–49), the government permits exceptions, the Supreme Court has

recognized that such exceptions “can raise doubts about whether the government is in fact pursuing

the interest it invokes, rather than disfavoring a particular speaker.” Williams-Yulee v. Florida Bar,

575 U.S. 433, 448 (2015) (cleaned up). Indeed, “[w]here a regulation already provides an

exception from the law for a particular group, the government will have a higher burden in

showing that the law . . . furthers a compelling interest.” McAllen Grave Brethren Church v.

Salazar, 764 F.3d 465, 472 (5th Cir. 2014) (emphasis added).




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                      b.        Maine’s claimed compelling interest is based on questionable
                                risk assumptions as shown by scientific evidence in the Verified
                                Complaint and from the CDC.

       Maine asserts that mandatory vaccination for healthcare workers is supported by a

compelling interest because nothing else can protect the healthcare industry and patient health in

Maine. (Dkt. 49-4, Shah Decl., ¶¶ 55–56.) Maine claims that vaccines are the only way to prevent

the spread of COVID-19, and that unvaccinated individuals are at greater risk of infection from

the Delta variant than vaccinated. (Id. ¶ 23.) But, as demonstrated in the Verified Complaint,

       A preliminary study has shown that in the case of a breakthrough infection, the
       Delta variant is able to grow in the noses of vaccinated people to the same degree
       as if they were not vaccinated at all. The virus that grows is just as infectious as
       that in unvaccinated people, meaning vaccinated people can transmit the virus and
       infect others.

(V. Compl. ¶ 79 (quoting Sanjay Mishra, Evidence mounts that people with breakthrough

infections   can    spread      Delta   easily,   National   Geographic      (Aug.    20,     2021),

https://www.nationalgeographic.com/science/article/evidence-mounts-that-people-with-

breakthrough-infections-can-spread-delta-easily (emphasis added)).) See also Statement from

CDC      Director    Rochelle      P.   Walensky,     MD,     MPH      on     Today’s       MMWR,

https://www.cdc.gov/media/releases/2021/s0730-mmwr-covid-19.html (last visited Sept. 17, 201)

(noting that “the Delta infection resulted in similarly high SARS-CoV-2 viral loads in

vaccinated and unvaccinated people” (emphasis added).) Thus, Maine’s assumptions of the

relative risks of transmission by vaccinated and unvaccinated employees are scientifically

questionable, further undermining Maine’s claimed compelling interest in mandating vaccination.

And, critically, it is the Government’s burden to demonstrate the compelling interest. Gonzales v.

O Centro Espirita Beneficente Uniao do Vegetal, 546 U.S. 418, 429 (2006) (““the burdens at the

preliminary injunction stage track the burdens at trial.”). Maine has not met that burden here.



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               2.     Maine stands alone in its blanket refusal to recognize religious
                      exemptions and cannot demonstrate that lonely position is the least
                      restrictive means to achieve its interest.

       Even assuming arguendo that imposing a mandatory COVID-19 vaccination requirement

on healthcare workers in Maine while excluding religious exemptions is supported by a compelling

government interest, the Vaccine Mandate still fails strict scrutiny because it is not the least

restrictive means of achieving the government’s interest. As the Supreme Court said in Tandon,

       narrow tailoring requires the government to show that measures less restrictive of
       the First Amendment activity could not address its interest in reducing the spread
       of COVID. Where the government permits other activities to proceed with
       precautions, it must show that the religious exercise at issue is more dangerous
       than those activities even when the same precautions are applied. Otherwise,
       precautions that suffice for other activities suffice for religious exercise too.

141 S. Ct. at 1296–97 (emphasis added). Now that New York’s unconstitutional exemption regime

has been judicially enjoined, every other state has demonstrated that preventing the spread of

COVID-19 and encouraging vaccination of patient-facing healthcare workers can still be achieved

while protecting the sincerely held religious beliefs of conscientious objectors. These states have

found a way to accommodate religion under the same alternative protective measures

Plaintiffs request here. Maine stands alone in its refusal to recognize this truth.

       In fact, despite Maine’s contentions that there are no alternatives to a vaccine mandate that

prohibits religious exemptions, healthcare providers in Maine (and across the country) are

regularly providing religious accommodations to healthcare workers. An employee of the

Department of Veterans Affairs at the VA Maine Healthcare System in Augusta was merely

required to check a box requesting a religious exemption. employee who is employed as Chief

Chaplin of Service at the VA Maine Healthcare System in Augusta notes that the VA “permits and

freely grants exemptions and accommodations to healthcare employees with sincerely held

religious objections to mandatory vaccinations.” (EXHIBIT 1, Employee Witness 1 Decl. ¶ 5.)

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This employee was granted an accommodation of wearing a mask while at work, and he is

“permitted to carry out [his] duties and responsibilities to the same extent as always,” including

interacting with patients “both with COVID and without COVID.” (Id. ¶ 10.)

       Another VA employee was likewise given an accommodation in Maine. (EXHIBIT 2,

Employee Witness 2 Decl. ¶¶ 2–6.) That employee’s experience highlights the dichotomous

treatment of healthcare workers in Maine. Her VA exemption allowed her to “continue all of [her]

previous duties and responsibilities, including working on-site, interacting with colleagues, and

providing quality and safe care to [her] patients,” and her accommodation only requires that she

wear a mask and submit to testing twice weekly. (Id. ¶ 10.) This same employee, however, was

also a per diem employee at Eastport Memorial Nursing Home in Maine where she requested a

religious accommodation similar to her VA accommodation but was informed that such

accommodations were not available under Maine law, and her employment was discriminatorily

terminated. (Id. ¶ 11.)

       The availability and workability of accommodations for patient-facing healthcare workers

with sincerely held religious objections to COVID-19 vaccination is evident from sea to shining

sea, at large employers and small. (See EXHIBITS 3-32 (demonstrating accommodations granted

to healthcare employees in Maine, Oregon, California, Washington, New Mexico, Missouri,

Texas, Wisconsin, Minnesota, Illinois, Colorado, Michigan, Ohio, Pennsylvania, Delaware,

Maryland, and Florida.) Maine’s contention that it simply cannot provide any reasonable

accommodation to the sincerely held religious beliefs of healthcare workers in Maine is

demonstrably false. Indeed, the list of healthcare providers granting exemptions across the country

involves (a) top education and research hospitals, including University of Colorado, University of

Chicago, University of Maryland, Temple University, (b) some of the largest healthcare providers



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in the nation, including Kaiser Permanente, Trinity Health, and Advocate Aurora Healthcare with

hundreds of thousands of employees providing patient-facing care and accommodating the subset

of those with sincere religious beliefs, and (c) mid-size and smaller healthcare providers that have

also readily accommodated patient-facing personnel with sincere religious beliefs. (See Exs. 3-

32.)

       And, this point is critical because the government must show it “seriously undertook to

address the problem with less intrusive tools readily available to it,” meaning that it “considered

different methods that other jurisdictions have found effective.” McCullen v. Coakley, 134 S.

Ct. 2518, 2539 (2014) (emphasis added). See also Agudath Israel of Am. v. Cuomo, 983 F.3d 620,

633 (2d Cir. 2020) (same). And the Governor must “show either that substantially less-restrictive

alternatives were tried and failed, or that the alternatives were closely examined and ruled

out for good reason,” Bruni v. City of Pittsburgh, 824 F.3d 353, 370 (3d Cir. 2016) (emphasis

added), and that “imposing lesser burdens on religious liberty ‘would fail to achieve the

government’s interest, not simply that the chosen route was easier.’” Agudath Israel, 983 F.3d at

633 (quoting McCullen, 134 S. Ct. at 495). If 49 other states, the Department of Veterans

Affairs, and a who’s-who of excellent healthcare providers can accommodate their

employees’ religious beliefs and still advance their interests in protecting patients, Maine can

and must do the same. Maine has brought forth no record facts to even suggest, let alone prove,

that the COVID situation in Maine is so much worse than the rest of the country, to justify its

lonesome, draconian approach. In fact, the Governor has admitted quite the opposite.

       Despite having the oldest median age population in the country, Maine,
       adjusted for population, ranks third lowest in total number of cases and fourth
       lowest in number of deaths from COVID-19 from the start of the pandemic,
       according to the U.S. CDC.




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(See dkt. 34-1 at 3, Mills Administration Provides More Time for Health Care Workers to Meet

COVID-19 Vaccination Requirement (emphasis added).) This is a solution in search of a problem.

        Indeed, a VA employee who works 9 miles from Defendant MaineGeneral in Augusta has

been given an accommodation, yet Plaintiffs in the same hospital somehow lost their constitutional

rights on that short 10-minute drive. If this is “narrow tailoring,” that term means nothing.

        D.      Maine’s Reliance on Jacobson Is Utterly Misplaced Because It Did Not Involve
                a First Amendment Challenge, Did Not Involve a State Attempting to Revoke
                Protections of Federal Law in Violation of the Supremacy Clause, and Was
                Decided Decades Before Strict Scrutiny Became the Governing Standard.

        Maine largely hangs its entire defense on Jacobson v. Massachusetts, 197 U.S. 11 (1905),

claiming that Jacobson provides broad latitude for the State to mandate vaccination. (Gov’t Opp’n

8–10.) But, critically, this case is not about a challenge to vaccine mandates in general and

does not even challenge the Governor’s authority to issue them. It solely focuses on whether

– when a mandate has been issued – the government must still follow federal protections for

sincerely held religious beliefs. Jacobson has nothing to say on this issue and is inapposite.

        It can hardly be argued that a 1905 case with minimal progeny, and substantial

jurisprudential developments arising since its holding was articulated 115 years ago, remains the

lodestar for current times. History and the Constitution demand otherwise. Moreover, Maine

largely ignores the salient point: Jacobson did not involve a First Amendment challenge, which

requires an entirely different analysis. Plaintiffs’ claims against Maine arise under the First

Amendment. (V. Compl. ¶¶ 123–139.) Jacobson was decided long before the First Amendment

even applied to the States, and decades before the Supreme Court would even consider the current

tiers of scrutiny in constitutional analysis.

        Indeed, the First Amendment’s various clauses were not even applicable to the states until

decades after Jacobson was decided. It would not be until 1940 that the Supreme Court would first

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articulate the notion that “[t]he fundamental concept of liberty embodied in [the Fourteenth]

Amendment embraces the liberties guaranteed by the First Amendment.” Cantwell v. Connecticut,

310 U.S. 296, 303 (1940) (incorporating the Free Exercise Clause); see also Gitlow v. New York,

268 U.S. 652, 666 (1925) (holding, under the doctrine of incorporation, that the Free Speech Clause

is applicable as against the States); Everson v. Bd. of Educ. of Ewing Tp., 330 U.S. 1, 16 (1947)

(holding, under the doctrine of incorporation, that the Establishment Clause is applicable as against

the States). It would be another quarter century before “exacting judicial scrutiny” would even

enter the First Amendment lexicon in United States v. Carolene Prods. Co., 304 U.S. 144, 153 n.4

(1938), another 50 years before the phrase “compelling interest” would be introduced to First

Amendment jurisprudence in Justice Frankfurter’s concurrence in Sweezy v. New Hampshire, 354

U.S. 234, 65 (1957) (Frankfurter, J., concurring), and another 60 years before strict scrutiny would

ever be applied in its current form in Sherbert v. Verner, 374 U.S. 398 (1963).

       Moreover, in recent years there has been a monumental shift in how and when strict

scrutiny is mandated. See, e.g., Blith v. City of Slidell, 260 F. Supp. 3d 656, 666 (E.D. La. 2017)

(“Reed v. Town of Gilbert then worked a sea change in First Amendment law” (emphasis

added)); see also Wollschlaeger v. Florida, 848 F.3d 1293, 1332 (11th Cir. 2017) (Tjoflat, J.,

dissenting) (same); Pan American v. Municipality of San Juan, 2018 WL 6503215, *12 (D.P.R.

Dec. 10, 2018) (noting that Reed “worked a sea change in First Amendment law” (citing Norton

v. City of Springfield, 806 F3d 411, 412 (7th Cir. 2015) (Easterbrook, J.)).

       Simply put, Jacobson preceded all of these developments, did not involve the same First

Amendment questions at issue here, and could not foresee that jurisprudence would require the

current mandate—which discriminatorily targeted and revoked religious exemptions—survive

“the most demanding test known to constitutional law.” City of Boerne v. Flores, 521 US. 507,



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534 (1997). Jacobson is therefore unhelpful at best, and utterly inapposite at worst. This is not the

first time Jacobson has been dusted off to deprive constitutional rights in this pandemic, and those

prior efforts were squarely rejected by the Supreme Court numerous times. As Justice Gorsuch

pointed out in Catholic Diocese, “Jacobson hardly supports cutting the Constitution loose

during a pandemic. That decision involved an entirely different mode of analysis [and] an

entirely different right.” Catholic Diocese, 141 S. Ct. at 70 (Gorsuch, J., concurring). Put simply,

       Jacobson didn’t seek to depart from normal legal rules during a pandemic, and it
       supplies no precedent for doing so. Instead, Jacobson applied what would become
       the traditional legal test associated with the right at issue—exactly what the Court
       does today. Here, that means strict scrutiny: The First Amendment
       traditionally requires a State to treat religious exercises at least as well as
       comparable secular activities unless it can meet the demands of strict
       scrutiny—showing it has employed the most narrowly tailored means
       available to satisfy a compelling state interest.

Id. (emphasis added).

       Moreover, “[e]ven if judges may impose emergency restrictions on rights that some have

found hiding in the Constitution’s penumbras, it does not follow that the same fate should befall

the textually explicit right to religious exercise.” Id. at 70–71 (emphasis added). Contrary to

Maine’s contentions, Jacobson does not represent some “towering authority that overshadows the

Constitution during a pandemic,” for the simple reason that the judiciary “may not shelter in place

when the Constitution is under attack. Things never go well when [it] do[es].” Id. at 71.

       In fact, even Jacobson’s own language suggests that it is inapplicable to a situation

where—as here—the government imposes restrictions that plainly violate the First Amendment:

       we deem it appropriate, in order to prevent misapprehension of our views, to
       observe—perhaps to repeat a thought already sufficiently expressed, namely—that
       the police power of a state, whether exercised directly by the legislature, or by a
       local body acting under its authority, may be exerted in such circumstances, or by
       regulations so arbitrary and oppressive in particular cases, as to justify the
       interference of the courts to prevent wrong and oppression.



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Jacobson, 197 U.S. at 38. “There is no question, therefore, that even under the plain language

of Jacobson, a public health measure may violate the Constitution.” Cnty. of Butler v. Wolf,

486 F. Supp. 3d 833, 897 (W.D. Pa. 2020) (emphasis added). Where, as here, Maine has purported

to completely remove the textual protections of the First Amendment and Title VII for healthcare

workers in Maine, there is no dispute that Maine’s Vaccine Mandate “regulates [and] prohibits

conduct because it is undertaken for religious reasons,” Lukumi, 508 U.S. at 532, while exempting

secular conduct of like kind, and therefore violates the First Amendment “and plainly so.”

Maryville Baptist, 957 F.3d at 613. Jacobson simply provides no refuge or escape for Maine, and

its discriminatory treatment of fundamental First Amendment rights to religious exercise must be

subjected to, and cannot survive, strict scrutiny.

II.    DEFENDANTS’   WHOLESALE       REJECTION    OF    RELIGIOUS
       ACCOMMODATIONS IS PLAINLY INCONSISTENT WITH TITLE VII AND IS
       THEREFORE NULLIFIED AND SUPERSEDED BY FEDERAL LAW.

       A.      Title VII Supersedes Maine’s Rule Because Even the Employer Defendants
               Have Admitted That Title VII’s Requirement of Religious Accommodation
               and Maine’s Revocation of Religious Exemptions Are in Conflict and That
               They Cannot Comply With Both.

       Employer Defendants’ primary contention concerning their utter refusal to comply with

the demands of Title VII is that Maine’s revocation of religious exemptions from the COVID-19

Vaccine Mandate are not inconsistent with Title VII, and thus they need not comply. (MaineHealth

Opp’n 9; NL Opp’n 7–8). Employer Defendants are wrong. Title VII plainly requires that every

employer with over 15 employees (which includes all Employer Defendants (V. Compl. ¶ 171))

must provide religious accommodations “unless an employer demonstrates that he is unable to

reasonably accommodate an employee’s or prospective employee’s religious observance or

practice without undue hardship.” 42 U.S.C. § 2000e(j). See also Trans World Airlines, Inc. v.

Hardison, 432 U.S. 63, 75 (1977) (“the employer’s statutory obligation to make reasonable

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accommodation for the religious observance of its employees, short of incurring an undue

hardship, is clear” (emphasis added)). Despite that mandate of federal law, Maine has issued a

wholesale revocation of religious exemptions and accommodations for healthcare workers and has

abolished the entire exemption and accommodation process under Title VII for religious objectors.

(V. Compl. ¶ 46 (noting that Maine “eliminate[d] the ability of health care workers in Maine to

request and obtain a religious exemption and accommodation from the COVID-19 Vaccine

Mandate”).) Additionally, Government Defendants made it abundantly clear that “[t]he health care

immunization law has removed the allowance for philosophical and religious exemptions.” (V.

Compl. ¶ 49 (quoting Division of Disease Surveillance, Maine Vaccine Exemption Law Change

2021,       https://www.maine.gov/dhhs/mecdc/infectious-disease/immunization/maine-vaccine-

exemption-law-changes.shtml (emphasis added)).)

        Thus, Title VII’s requirement that employers provide at least a process for seeking an

accommodation for an employee’s sincerely held religious beliefs, and Maine’s refusal to provide

such a process, are in direct conflict. Under such a scheme, the Supremacy Clause demands that

Defendants comply with Title VII. Where—as here—federal law “imposes restrictions [and]

confers rights on private actors,” and Maine law “imposes restrictions that conflict with the federal

law,” “the federal law takes precedence and the state law is preempted.” Murphy v. NCAA, 138

S. Ct. 1461, 1480 (2018) (emphasis added). Employer Defendants take great pains to suggest that

Maine’s refusal to extend religious protections is not preempted by Title VII’s demand that

employers provide a reasonable accommodation for religious beliefs. This is incorrect. Title VII

supersedes state laws where—as here—“compliance with both federal and state regulations is a

physical impossibility.” California Fed. Savings & Loan Assoc. v. Guerra, 479 U.S. 272, 281

(1987) (citing Florida Lime & Avocado Growers, Inc. v. Paul, 373 U.S. 132, 142-43 (1963)).



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       In their Oppositions, Employer Defendants now claim to this Court that it is not impossible

for them to comply with both Title VII and Maine’s revocation of religious exemptions from the

COVID-19 Vaccine Mandate. (See, e.g., NL Opp’n 8–9.) However, Employer Defendants’ newly

minted contentions are plainly belied by the undisputed facts in the Verified Complaint. As shown

there, Employer Defendants made it clear that they could not comply with Title VII because it

would violate state law. (See, e.g., V. Compl. ¶ 86 (“I can share MaineHealth’s view that federal

law does not supersede state law in this instance. . . . Requiring MaineHealth to violate state

law by granting unrecognized exemptions would impose such a hardship. As such, we are not

able to grant a request for a religious exemption from the state mandated vaccine.”); id. ¶ 94

(“Allowing for a religious exemption would be a violation of the state mandate issued by Governor

Mills. So, unfortunately, that is not an option for us.”).) Thus, Employer Defendants admit that

Maine’s revocation of a religious exemption is in direct conflict with Title VII and that both cannot

be complied with by Employer Defendants.

       Employer Defendants’ admission is fatal. “[T]he Supremacy Clause . . . invalidates state

laws that interfere with, or are contrary to, federal law. Under the Supremacy Clause . . .

state law is nullified to the extent that it actually conflicts with federal law.” Hillsborough

Cnty. v. Automated Med. Labs., Inc., 471 U.S. 707, 712–13 (1985) (emphasis added) (cleaned up).

Employer Defendants admit that compliance with both is impossible, which requires a finding that

Title VII supersede Maine’s inconsistent and contrary rules. California Fed. Savings & Loan, 479

U.S. at 281. Maine’s discriminatory revocation of religious exemptions simply does not relieve

Employer Defendants of their obligations under Title VII, and the Supremacy Clause demands that

Maine provide the protections explicitly provided by Title VII.




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       B.      Title VII Explicitly Preempts State Laws, Like Maine’s, That Require the
               Doing of an Act That Is Prohibited by Title VII.

       Under the plain language of Title VII, Maine’s refusal to recognize and accommodate

Plaintiffs’ sincerely held religious beliefs is preempted and overridden by Title VII. Indeed,

       Nothing in this subchapter shall be deemed to exempt or relieve any person from
       any liability, duty, penalty, or punishment provided by any present or future law of
       any State or political subdivision of a State, other than any such law which
       purports to require or permit the doing of any act which would be an unlawful
       employment practice under this subchapter.

42 U.S.C. § 2000e-7 (emphasis added). Thus, because Maine’s rule revoking religious exemptions

and accommodations “purports to require” discrimination on the basis of religion, and purports to

abolish the exemption and accommodation procedure explicitly provided in Title VII, each of

which are “an unlawful employment practice” under Title VII, see 42 U.S.C. §2000e-2(a), Maine’s

rules are superseded and preempted by Title VII.

       In addition to the explicit textual preemption of Title VII, abundant precedent demonstrates

that Maine cannot require employers to engage in a practice that is unlawful under Title VII. See,

e.g., Coalition for Economic Equality v. Wilson, 122 F.3d 692, 710 (9th Cir. 1997) (noting that

Title VII preempts state laws that “purport to require the doing of any act which would be an

unlawful employment practice under Title VII”); Brown v. City of Chicago, 8 F. Supp. 2d 1095,

1112 (N.D. Ill. 1998) (noting that Congress “‘intended to supercede [sic] all provisions of State

law which require or permit the performance of an act which can be determined to constitute an

unlawful employment practice under the terms of Title VII of the Act or are inconsistent with any

of its purposes’” (quoting Rinehart v. Westinghouse Elec. Corp., No. C 70-537, 1971 WL 174, *2

(N.D. Ohio Aug. 20, 1971)); LeBlanc v. S. Bell Tel. & Tel. Co., 333 F. Supp. 602, 608 (E.D. La.

1971) (noting that Louisiana’s employment law provisions that conflict with Title VII “are invalid

under the Supremacy Clause”). Moreover, Employer Defendants are not permitted to rely upon

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Maine’s revocation of protections for religious objectors as a defense to refusing to do what Title

VII requires. See, e.g., Guardians Ass’n v. Civil Serv. Comm., 630 F.2d 79, 104–105 (2d Cir. 1980)

(“Nor can the City justify the use of rank-ordering by reliance on what it contends are requirements

of state law. Title VII explicitly relieves employers from any duty to observe a state hiring

provision “which purports to require or permit” any discriminatory employment practice.”

(citation omitted)).

III.   DEFENDANTS’ FALSE REDUCTION THAT PLAINTIFFS’ HARM IS
       COMPENSABLE AS A MERE EMPLOYMENT MATTER PLAINLY IGNORES
       THE BLATANT FIRST AMENDMENT INJURY BEING IMPOSED ON THEM
       EACH AND EVERY DAY, WHICH IS PER SE IRREPARABLE HARM.

       Defendants devote much ink to the notion that Plaintiffs cannot show irreparable harm

because they can be reinstated to their jobs and given remuneration for lost wages. (MaineHealth

Opp’n 17–18; NL Opp’n 13–15.) While it is generally true that a loss of employment does not

constitute irreparable harm, that ignores the seminal First Amendment questions before the

Court. And there can be no dispute that Government Defendants’ substantial burden on Plaintiffs’

religious exercise constitutes irreparable harm as a matter of law. As the Supreme Court has held

time and again, Plaintiffs “are irreparably harmed by the loss of free exercise rights for even

minimal periods of time.” Tandon, 141 S. Ct. at 1297. Indeed, “[t]here can be no question that

the challenged [mandate], if enforced, will cause irreparable harm.” Catholic Diocese, 141 S.

Ct. at 67 (emphasis added). Contrary to Defendants’ assertions, Plaintiffs’ constitutional injuries

in the instant matter are presumed irreparable harm under binding law. See, e.g., Sindicator

Puertorriqueno de Trabajaddores v. Fortuno, 699 F.3d 1, 11 (1sr Cir. 2012) (“irreparable injury

is presumed” in First Amendment cases). Put simply, “a violation of plaintiffs’ constitutional right,

and in particular, a violation of First Amendment rights, constitutes irreparable harm, per se.”

Westchester Legal Servs., Inc. v. Westchester Cnty., 607 F. Supp. 1379, 1385 (S.D.N.Y. 1985).

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        Defendants’ collective false reduction, that Plaintiffs face only the loss of a job rather than

the unconscionable loss of First Amendment rights at the hand of Government Defendants, must

be rejected. The impact of Maine’s far-reaching mandate cannot be understated. Plaintiffs cannot

simply go from one employer who unlawfully discriminates, and get a job at a different employer

to feed their families while their legal claims are pending. Maine has essentially ensured the

Plaintiffs cannot work anywhere in the entire State. If that’s not irreparable harm, the word has

no meaning. Indeed, “[t]he harm [Plaintiffs] would suffer is not only, as [Defendants] argue[],

the loss of [their] job[s] per se, but also the penalty for exercising [their First Amendment]

rights. The chilling effect of that penalty cannot be adequately redressed after the fact.”

Romero Feliciano v. Torres Gaztambide, 836 F.2d 1, 4 (1st Cir. 1987) (emphasis added); see also

Gardner v. Larkin, No. 19-139JJM, 2019 WL 6337686, *3 (D.R.I. Nov. 27, 2019) (same). Binding

precedent demands that Defendants’ false reduction be rejected and Plaintiffs awarded immediate

injunctive relief to remedy their present and ongoing loss of First Amendment rights.

                                          CONCLUSION

        Because Government Defendants’ revocation of religious exemptions from the COVID-19

Vaccine Mandate is neither neutral nor generally applicable, and because adequate, less restrictive

alternatives are available to Defendants, Plaintiffs are likely to succeed on the merits of their claim.

The preliminary injunction should issue immediately.




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                                  Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 17th day of September, 2021, I caused a true and correct copy

of the foregoing to be electronically filed with this Court. Service will be effectuated on all Counsel

of Record via this Court’s ECF/electronic notification system.


                                               /s/ Daniel J. Schmid
                                               Daniel J. Schmid




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